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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

                          CASE NO. 23-80101-CR-CANNON(s)

   UNITED STATES OF AMERICA,

         Plaintiff,

   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/




                 GOVERNMENT’S OPPOSITION TO DONALD J. TRUMP’S
                  MOTION TO DISMISS THE INDICTMENT BASED ON
                       THE PRESIDENTIAL RECORDS ACT
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          Defendant Donald J. Trump moves to dismiss the Superseding Indictment based on the

   Presidential Records Act, 4 U.S.C. § 2201, et seq. (“PRA”). ECF No. 327. Trump’s claims rest

   on three fundamental errors, all of which reflect his view that, as a former President, the Nation’s

   laws and principles of accountability that govern every other citizen do not apply to him.

          First, the PRA does not affect the scope of 18 U.S.C. § 793(e), the statute that underlies

   Counts 1 through 32 of the Superseding Indictment. Section 793(e) prohibits the unauthorized

   possession and willful retention of national defense information. Even if the raft of highly

   classified documents that Trump took from the White House to Mar-a-Lago were somehow

   categorized as “personal” under the PRA, that would not render his retention of those documents

   “authorized” for purposes of Section 793(e). The authorization for a former President to possess

   classified information comes from the applicable executive order—not from the PRA—and Trump

   was not authorized to possess classified records at all (let alone at unsecured locations at Mar-a-

   Lago, as the Superseding Indictment alleges, see ECF No. 85 ¶¶ 4-5).

          Second, the charged documents are indisputably presidential, not personal, and Trump

   offers no basis to conclude otherwise. Instead, he contends that because he transferred the

   documents to Mar-a-Lago, rather than to the National Archives Records Administration

   (“NARA”), the Court must conclusively presume that he designated the documents as personal—

   despite contrary allegations in the Superseding Indictment, the presidential nature of the records,

   and his own public statements saying the opposite. He further contends that an implied (and

   counterfactual) decision to treat the records as personal lies beyond the scope of judicial review.

   That is wrong. Nothing in the PRA leaves it to a President to make unilateral, unreviewable, and

   perpetually binding decisions to remove presidential records from the White House in a manner

   that thwarts the operation of the PRA—a statute designed to ensure that presidential records are



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   the property of the United States and that they are preserved for the people. Although it is not

   necessary to resolve that issue for the Government to prove the charges under Section 793(e)—

   because categorizing a classified document as “personal” does not make retention of the document

   “authorized” under Section 793(e)—if it were necessary, determining that the documents at issue

   are presidential, not personal, is obvious and well within judicial competence.

          Third, Trump is wrong to assert that the PRA’s civil remedy for recovering presidential

   records preempts the Justice Department’s authority to investigate and enforce criminal law.

   Congress enacted Section 793(e) to allow criminal prosecution of persons who jeopardize national

   security by improperly retaining the government’s closely held defense secrets. The civil remedy

   to recover records serves an entirely different purpose: to vindicate Congress’s determination that

   the United States owns presidential records. 44 U.S.C. § 2202. The two statutory schemes are

   complementary and compatible; neither forecloses resort to the other. The Government therefore

   had valid legal authority to conduct a criminal investigation involving the charged documents.

   And Trump’s disagreement provides no defense to the obstruction-of-justice charges in Counts 33-

   36, 40, and 41, the scheme-to-conceal charges in Count 37, and the false-statement charges in

   Count 38. The law provides many means to challenge the Government’s right to investigate.

   “Lying [to investigators] is not one of them.” Bryson v. United States, 396 U.S. 64, 72 (1969).

                                               BACKGROUND

          On July 27, 2023, a grand jury in this district returned a Superseding Indictment charging

   Trump with 32 counts of willful retention of national defense information, in violation of 18 U.S.C.

   § 793(e), and eight counts under various provisions addressing obstruction of justice and

   concealment of records. ECF No. 85. The Superseding Indictment alleges that, as part of his

   official duties as President, Trump received intelligence briefings from senior members of the



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   United States Intelligence Community (“USIC”) and regularly received classified intelligence as

   part of the “President’s Daily Brief.” Id. ¶ 20. On January 20, 2021, Trump ceased to be President.

   As he departed the White House, he took with him scores of boxes, including many containing

   classified documents, to the Mar-a-Lago Club, where he had a residence. Id. ¶ 4. “Trump was not

   authorized to possess or retain those classified documents.” Id. These classified documents were

   originated by and implicated the equities of components of the USIC. Id. ¶ 22.

          NARA made extensive efforts to recover the presidential records that Trump took and kept

   after leaving office. Id. ¶ 38. In January 2022, Trump provided 15 boxes of materials to NARA.

   Id. ¶ 49. On opening the boxes, NARA discovered that 14 of the boxes contained documents with

   classification markings. Id.    Ultimately, the FBI determined that the boxes contained 197

   documents with classification markings, including “CONFIDENTIAL,” “SECRET,” and “TOP

   SECRET,” with some marked with even more restrictive indications of containing Sensitive

   Compartmented Information (“SCI”) and Special Access Programs (“SAP”). Id.; see also id.

   ¶¶ 16-17. NARA referred the matter to the Department of Justice (“DOJ”). Id. ¶ 50.

          In March and April 2022, the FBI and a grand jury opened investigations. Id. ¶¶ 51-52. In

   May 2022, the grand jury subpoenaed the Office of Donald J. Trump for all documents with

   classification markings in the custody or control of that office or Trump himself. Id. ¶ 53. On

   June 3, 2022, attorneys working on Trump’s behalf provided an additional 38 documents bearing

   classification markings as well as a certification that all boxes moved from the White House to

   Mar-a-Lago had been subjected to a “diligent search” and that “[a]ny and all responsive documents

   accompan[ied]” the certification. Id. ¶¶ 65-72. That was not true. On August 8, 2022, the FBI

   executed a court-authorized search warrant at Mar-a-Lago and recovered an additional 102

   documents with classification markings. Id. ¶¶ 89-90.



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          In the Superseding Indictment, Counts 1-32 charge Trump with the unauthorized

   possession and willful retention of documents relating to the national defense, in violation of 18

   U.S.C. § 793(e). Id. ¶ 93. The additional counts allege obstruction crimes based on conspiracy

   and substantive violations of criminal law when Trump and his co-defendants used deception to

   obstruct the return of the documents. See id. ¶¶ 94-119.

                                             ARGUMENT

          Trump’s reliance on the PRA as a basis for dismissing the indictment is wrong. The PRA

   does not exempt Trump from the criminal law, entitle him to unilaterally declare highly classified

   presidential records to be personal records, or shield him from criminal investigations—let alone

   allow him to obstruct a federal investigation with impunity.

          In his motion, Trump contends, first, that his possession of the records underlying Counts

   1 through 32 was not “unauthorized,” as required to prove a violation of 18 U.S.C. § 793(e),

   because he had exercised his authority as President “to designate the records as personal when, as

   alleged in the Superseding Indictment, he ‘caused’ the materials to be transported out of the White

   House while he was still in office.” ECF No. 327 at 4. Second, he argues that a President’s

   designation of the records as “personal” under the PRA is not subject to judicial review. Id. at 5-

   10. Third, he contends that “the PRA’s exclusive remedy for records collection efforts by NARA

   is civil in nature and forecloses criminal investigation.” Id. at 3; see id. at 10-13. None of these

   contentions has merit. Proof of unauthorized possession under Section 793(e) does not turn on the

   purported characterization of records as “personal,” but on an executive order governing who may

   possess classified information and under what circumstances.          Under that order, Trump’s

   possession was unauthorized, and nothing in the PRA changes that result. Moreover, his claim

   that obviously presidential records—highly sensitive government documents bearing classification



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   markings that were presented to Trump during his term in office—can be transformed into

   “personal” records by the alchemy of removing them from the White House is false. So too is his

   suggestion that courts are powerless to say that presidential records are not personal records. And,

   finally, the civil remedy for record recovery does not preempt criminal laws or investigative

   authorities, and even if it did, it would not provide Trump a license to obstruct justice.

   I.      Section 793(e) Applies Regardless of Whether the Records He Possessed Were
           “Personal” Under the PRA

           Section 793(e) provides that “[w]hoever having unauthorized possession of, access to, or

   control over any document . . . relating to the national defense . . . willfully retains the same and

   fails to deliver it to the officer or employee of the United States entitled to receive it,” is guilty of

   an offense. 18 U.S.C. § 793(e) (emphasis added). While Trump contends (without any plausible

   basis) that he designated the records underlying the Section 793(e) counts as “personal” under the

   PRA when he caused their removal from the White House, ECF No. 327 at 4, that contention, even

   if accurate, would not make his possession of classified records “authorized” under Section 793(e).

           A.      Section 793(e)’s Prohibition of Unauthorized Possession in This Prosecution
                   Takes Its Meaning from the Relevant Executive Order

           The violations of Section 793(e) alleged against Trump require proof of three elements: (1)

   unauthorized possession of a document, (2) that related to the national defense, (3) by a defendant

   who willfully retained the document and failed to deliver it to the employee or officer entitled to

   receive it. 18 U.S.C. § 793(e). The Superseding Indictment charges Trump with Section 793(e)

   violations based on his possession of classified documents. Establishing that documents were

   classified does not automatically establish that the documents related to the national defense,




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   although it is relevant to that issue.1 But classification status does establish who may lawfully

   possess classified documents, and under what circumstances. And, if a person is not entitled to

   possess those documents, his possession is not authorized for purposes of Section 793.

          Because Section 793 does not define the term “unauthorized,” the term bears its “ordinary

   meaning.” Sebelius v. Cloer, 569 U.S. 369, 376 (2013) (quotation marks omitted); see Campbell

   v. Universal City Dev. Partners, Ltd., 72 F. 4th 1245, 1254-55 (11th Cir. 2023). Dictionary

   definitions establish that “unauthorized” means without official approval or permission. See

   Black’s Law Dictionary (11th ed. 2019) (defining “unauthorized” as “[d]one without authority,”

   defining “authority” as “[t]he official right or permission to act,” and defining “authorization” as

   “[o]fficial permission to do something; sanction or warrant”); Random House Unabridged

   Dictionary 139 (2001) (defining “authorization” as “permission or power granted by an

   authority”); Webster’s Third International Dictionary 146 (2002) (defining authorization as “the

   state of being authorized” and defining “authorize” as “to endorse, empower, justify, permit by or

   as if by some recognized or proper authority”). That definition accords with the interpretation of

   similar terms in other criminal statutes. See, e.g., United States v. Nosal, 844 F.3d 1024, 1028,

   1034-35 (9th Cir. 2016) (“‘[W]ithout authorization’ [in 18 U.S.C. § 1030(a)(4)] is an unambiguous,

   non-technical term that, given its plain and ordinary meaning, means accessing a protected

   computer without permission”). Accordingly, for purposes of Section 793, “without authorization”

   means without official permission or approval.



          1
            The concept of national defense information (“NDI”) refers to information relating to “the
   military and naval establishments and the related activities of national preparedness.” Gorin v.
   United States, 312 U.S. 19, 28 (1941) (quotation marks omitted). “NDI . . . is not synonymous
   with ‘classified’; information that is classified by the executive branch of government may or may
   not qualify as NDI.” United States v. Rosen, 599 F. Supp. 2d 690, 694 (E.D. Va. 2009).
   Classification may nevertheless be relevant to proving that information qualifies as NDI. See, e.g.,
   United States v. Truong Dinh Hung, 629 F.2d 908, 918 n.9 (4th Cir. 1980).
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          Permission or approval to possess classified information flows from executive orders

   issued by the President. “The authority to protect [national security] information falls on the

   President as head of the Executive Branch and as Commander in Chief.” Dep’t of Navy v. Egan,

   484 U.S. 518, 527 (1988). As Commander in Chief, the President’s “authority to classify and

   control access to information bearing on national security and to determine whether an individual

   is sufficiently trustworthy to occupy a position in the Executive Branch that will give that person

   access to such information flows primarily from this constitutional investment of power in the

   President and exists quite apart from any explicit congressional grant.” Id. Congress has long

   required that “the President shall, by Executive order or regulation, establish procedures to govern

   access to classified information which shall be binding upon all departments, agencies, and offices

   of the executive branch of Government.” 50 U.S.C. § 3161(a); see National Security Act (“NSA”)

   of 1947, Pub. L. No. 118-31 § 801, 61 Stat. 496 (1947), as amended. Congress exempted the

   President, Vice-President, and officials from the Judicial and Legislative Branches from the

   provisions of the NSA, see 50 U.S.C. § 3163, but it provided no similar exemption for a former

   President or any other former official.

          Consistent with these constitutional and statutory authorities, Presidents have issued a

   series of executive orders to govern access to and storage of classified information. See Egan, 484

   U.S. at 527-528.     The current executive order—and the one in force throughout Trump’s

   Presidency and through the allegations in the Superseding Indictment—is Executive Order (“EO”)

   13526, issued on December 29, 2009. See ECF No. 85 ¶ 14. Pursuant to EO 13526, classified

   information can be accessed only by a person who an appropriate United States official determines

   is eligible for such access; who has signed an approved non-disclosure agreement; and who has a

   “need to know” the classified information. EO § 4.1. And as the Eleventh Circuit has made clear,



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   the requirements of EO 13526 apply “equally to former Presidents, unless the current

   administration, in its discretion, chooses to waive [them].” Trump v. United States, No. 22-13005,

   2022 WL 4366684, at *8 (11th Cir. Sept. 1, 2022). For former Presidents, the need-to-know

   requirement can be waived but only if an official “determines in writing that access is consistent

   with the interest of national security”; “takes appropriate steps to protect classified information

   from unauthorized disclosure or compromise”; and “ensures that the information is safeguarded in

   a manner consistent with this order.” EO § 4.4(a), (b)(1) & (2).

          Given the Article II authority of the President and the statutory backdrop for the President’s

   regulation of classified information, unauthorized possession under Section 793(e) in this case is

   measured by the terms of EO 13526. That is the approach courts have followed in construing the

   related phrase “not entitled to receive” NDI in the same statute.2 Under the provisions of EO

   13526, the Superseding Indictment alleges, once Trump left office, he no longer had authorization

   to possess classified information, he never received a waiver entitling him, as a former President,

   to possess it, and he stored documents at a location that was not an authorized location for the

   storage, possession, review, display, or discussion of classified documents. ECF No. 85 ¶¶ 4-6,

   18-19. Accordingly, the Superseding Indictment sufficiently alleges “unauthorized possession.”




          2
             See United States v. Morison, 844 F.2d 1057, 1065-66, 1075 (4th Cir. 1988) (“[T]he words
   ‘entitled to receive’ in the statute in this case can be limited and clarified by the Classification
   Regulations.”); see United States v. Rosen, 445 F. Supp. 2d 602, 622-23 (E.D. Va. 2006) (“[T]he
   rule regulating who is ‘entitled to receive’ is the Executive Order setting forth a uniform
   classification system for national security information . . . [T]he statute incorporates the executive
   branch’s classification regulations.” (quoting EO 13526)); see also Truong Dinh Hung, 629 F.2d
   at 919 n.10 (trial judge provided “adequate content” to “unauthorized possession” by instructing
   that “a person would have authorized possession if he had appropriate security clearance and if he
   gained access to the document because it was necessary to the performance of his official duties”).
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          B.      The PRA Does Not Authorize the Possession of Classified Information

          The PRA does not authorize the possession of classified information by a former President;

   indeed, it does not address the subject of classified information at all (other than in a provision that

   is not relevant here, governing restrictions on access to certain presidential records, including those

   that are properly classified, see 44 U.S.C. § 2204(a)(1)). Congress enacted the PRA “to establish

   the public ownership of presidential records and ensure the preservation of presidential records for

   public access after the termination of a President’s term in office.” Armstong v. Bush, 924 F.2d

   282, 290 (D.C. Cir. 1991) (“Armstrong I”); see Pub. L. No. 95-591, 92 Stat. 2523 (1978). The

   PRA defines “Presidential records” to mean “documentary materials, or any reasonably segregable

   portion thereof, created or received by the President” or his staff “in the course of conducting

   activities which relate to or have an effect upon the carrying out of the constitutional, statutory, or

   official or ceremonial duties of the President.” 44 U.S.C. § 2201(2). The category of presidential

   records does not include “personal records.” Id. § 2201(2)(B). “The term ‘personal records’ means

   all documentary materials, or any reasonably segregable portion thereof, of a purely private or

   nonpublic character which do not relate to or have an effect upon the carrying out of the

   constitutional, statutory, or official or ceremonial duties of the President.” Id. § 2201(3). Under

   the PRA, “[t]he United States shall reserve and retain complete ownership, possession, and control

   of Presidential records.” Id. § 2202. “Documentary materials produced or received by the

   President . . . shall, to the extent practicable, be categorized as Presidential records or personal

   records upon their creation or receipt and filed separately.” Id. § 2203(b). At the conclusion of




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   the President’s term, “the Archivist . . . shall assume responsibility for the custody, control, and

   preservation of, and access to, the Presidential records of that President.” Id. § 2203(g)(1).

            The PRA thus enshrines the public’s ownership of documents that reflect the President’s

   performance of his official duties. The PRA says nothing about the legal requirements that attach

   to classified information or who is authorized to possess classified information after a President’s

   term ends. Whatever authorization a former President may have to possess his personal records,

   that authority does not override the legal requirements that attach to classified information. And

   the PRA can readily be harmonized with EO 13526: Presidential records belong the United States,

   and classified documents the President receives are inherently documents “received by the

   President . . . in the course of conducting activities which relate to or have an effect upon the

   carrying out of the constitutional, statutory, or other official . . . duties of the President.” 44 U.S.C.

   § 2201(2). Personal records, which are documents “of a purely private or nonpublic character

   which do not relate to or have an effect upon” presidential duties, id. § 2201(3), are not the United

   States’ property. But classified information within personal records is still subject to EO 13526’s

   requirements, including restrictions on safekeeping and disclosure. Reconciling these provisions

   allows each to operate within its appropriate sphere.

           That straightforward reading of the PRA also avoids the constitutional question that would

   be raised if the Court were to find that legislation has overridden the President’s determinations

   about who may possess classified information. As noted, the President’s “authority to classify and

   control access to information bearing on national security . . . flows primarily” from the

   Commander-in-Chief Clause “and exists quite apart from any explicit congressional grant.” Egan,

   484 U.S. at 527. Congressional regulation that would override the President’s judgment by giving

   a private party the right to possess classified information that the President would disallow raises



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   a significant constitutional question. See Zivotofsky v. Kerry, 576 U.S. 1 (2012) (separation of

   powers may be violated by congressional intrusion on unique presidential authority). The judiciary

   should strive to avoid any such conflict. See Am. Foreign Serv. Ass’n v. Garfinkel, 490 U.S. 153,

   161-62 (1989) (per curiam) (remanding with instructions that lower courts address whether a

   congressional statute and an executive-branch form dealing with conditions of access to classified

   information “are susceptible of a reconciling interpretation” to avoid constitutional questions).

   And at a minimum, any congressional intrusion on the President’s Commander-in-Chief power to

   protect national-security information would require that “Congress specifically ha[d] provided

   otherwise.” Egan, 484 U.S. at 530 (emphasis added). The PRA provides no specific exception

   to EO 13526 that would authorize Trump to keep classified government records at Mar-a-Lago.3

          Trump alludes to DOJ’s inaction over former President Reagan’s diaries, which he retained

   after leaving office and which contained classified information. ECF No. 327 at 7. But DOJ’s

   decisions decades ago with respect to a former President’s diaries establish no legal precedent for

   the interaction of the PRA and Executive Orders governing classified documents. This case

   involves classified records created by intelligence and military officials for highly sensitive

   Presidential briefings. Trump did not create them, they do not reflect his personal thoughts, they

   came into his possession only through his official duties, and (except for one charged document)

   bear classification markings. They have no resemblance to diaries. See 44 U.S.C. § 2201(3)(A)

   (defining “personal records” to include “diaries, journals or other notes serving as the functional




          3
             The Hur Report reached the same conclusion: “We therefore decline to adopt the
   argument that compliance with the [PRA] authorizes former presidents and vice presidents to
   retain national defense information in unsecured and unapproved locations.” Special Counsel
   Robert K. Hur, Report on the Investigation Into Unauthorized Removal, Retention, and Disclosure
   of Classified Documents Discovered at Locations Including the Penn Biden Center and the
   Delaware Private Residence of President Joseph R. Biden, Jr. at 181-182 (Feb. 2024).
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   equivalent of a diary or journal which are not prepared or utilized for, or circulated or

   communicated in the course of, transacting Government business”). In any event, the Reagan

   example does not override EO 13526, and that text does not authorize Trump’s possession and

   storage of classified documents. Nothing in the PRA calls into question the Section 793(e) counts.4

   II.    A Presidential Designation of Records as “Personal” Is Not Binding

          Even if the PRA had some bearing on this case, Trump’s claims would fail. The

   information in the charged documents pertains to this Nation’s and others’ defense and weapons

   capabilities; vulnerabilities to military attack; nuclear programs; and plans for a response to a

   foreign attack. ECF No. 85 ¶ 3. And Trump received them from members of the intelligence

   community to further the execution of his duties as President. Id. ¶¶ 20-21. Thus, the documents

   were “created or received by the President . . . in the course of conducting activities which relate

   to or have an effect upon the carrying out of the constitutional, statutory, or other official or

   ceremonial duties of the President.” 44 U.S.C. § 2201(2). No conceivable argument exists that

   any of them qualifies as “documentary materials . . . of a purely private or nonpublic character

   which do not relate to or have an effect upon the carrying out of the constitutional, statutory, or

   other official or ceremonial duties of the President.” 44 U.S.C. § 2201(3). As such, they are

   indisputably “Presidential records,” not “personal records” within the meaning of the statute.

          Tellingly, Trump’s motion to dismiss does not argue that these records are in fact “personal

   records” within the meaning of the PRA. Likewise, his motion does not assert (much less try to



          4
             At trial, Trump may offer a defense that he did not act willfully because he in fact
   designated the documents as personal and in fact mistakenly believed that the PRA provided him
   with authorization to keep and withhold classified records from NARA and the grand jury. See
   Bryan v. United States, 524 U.S. 184, 191-92 (1988). Any such factual defense regarding his mens
   rea would, of course, require as-yet-unseen evidence to support it, but in any event, it would not
   affect the legal determination of whether his possession of classified records was unauthorized.
   Nor would it provide any basis for dismissing the Superseding Indictment.
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   show) that he designated these documents as personal records during his presidency. Nor could

   he. Not only did he return 15 boxes of documents to NARA in January 2022, see ECF No. 85

   ¶¶ 38-49, refuting any suggestion that he viewed them all as “personal records,” but he also stated

   at the time that “[t]he National Archives did not ‘find’ anything, they were given, upon request,

   Presidential Records in an ordinary and routine process to ensure the preservation of my legacy

   and in accordance with the Presidential Records Act.”5

           His reliance on the PRA therefore has no basis in the statute, the Superseding Indictment,

   or any real-world facts. Instead, it is premised on two flawed contentions. First, relying on a

   statement in an oral argument transcript from an inapposite case, Trump contends (ECF No. 327

   at 4-6) that, because he “caused” the documents to be transported to Mar-a-Lago, ECF No. 85 ¶ 4,

   rather than the National Archives, the Court must presume that he designated the records as

   personal rather than presidential.6 Second, he contends (ECF No. 327 at 6-10) that if the Court

   treats the decision to spirit the boxes away as equivalent to a designation of the records as

   “personal,” it must treat that decision as conclusive, even if it lacks any colorable legal basis. Both

   contentions lack legal support and are fundamentally wrong.

           A.      A President Cannot Unilaterally Transform Presidential Records into
                   Personal Records by Removing Them from the White House

           The PRA directs that the President “shall take all such steps as may be necessary to assure

   that the activities, deliberations, decisions, and policies that reflect the performance” of his official

   duties “are adequately documented and that such records are preserved and maintained as



           5
           https://www.nbcnews.com/politics/donald-trump/white-house-records-taken-trump-
   contained-classified-information-natio-rcna16890 (quoting Trump statement).
           6
            That purported presumption is crucial to his argument because Trump offers no facts to
   support it, perhaps recognizing that doing so would be fatal to a motion to dismiss under Fed. R.
   Crim. 12. See United States v. deVegter, 198 F.3d 1324, 1326-27 (11th Cir. 1999).
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   Presidential records.” 44 U.S.C. § 2203(a). That provision sets a controlling legal standard.

   Nothing in the PRA remotely suggests that the President can lawfully convert presidential records

   into personal ones simply by removing them from the White House at the end of his term.

          To reach a contrary conclusion, Trump relies on a statement made during oral argument

   before the district court in Judicial Watch, Inc. v. NARA, 845 F. Supp. 2d 288 (D.D.C. 2012). That

   case stemmed from a decision made by President Clinton to “enlist[] historian Taylor Branch to

   assist him in creating ‘an oral history of his eight years in office.’” Id. at 290 (quoting complaint).

   President Clinton “planned to make first use of [the taped conversations] for his memoirs, then

   eventually to release the transcripts at his presidential library.” Taylor Branch, The Clinton Tapes:

   Wrestling History with the President 13 (Simon & Schuster 2009).

          After Branch published his book, a non-profit organization, Judicial Watch, sent a FOIA

   request to the Clinton Library for access to the tapes. Judicial Watch, 845 F. Supp. 2d at 292. The

   Supervisory Archivist for the Clinton Library responded that “the requested tapes ‘are not

   [P]residential records and therefore are not subject to request under the PRA and FOIA.’” Id.

   (quoting complaint). When Judicial Watch appealed to NARA, the Deputy Archivist noted that

   NARA had never had custody over the tapes. Id. at 292-93. The Deputy Archivist added that, to

   the extent that the appeal asked NARA to “make a further determination that the materials in

   question ought to be considered ‘presidential records’ within the meaning of the PRA, we decline

   to do so.” Id. at 293 (quoting the letter). The Deputy Archivist “‘consider[ed] the nature of the

   audio tapes, if they were created with the intent of their use as government materials, and whether

   or not they were circulated within the Administration or relied on as policy documents.’” Id.

   Based on the available facts, the Deputy Archivist did “‘not believe the materials in question fall




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   within the ambit of the PRA,’” and she was instead “‘of the opinion that the audio tapes created

   by Taylor Branch are personal records of President Clinton as defined by the PRA.’” Id.

           Judicial Watch then filed suit in district court under the Administrative Procedure Act,

   asking the court to, among other things, order NARA to “assume custody and control” over the

   tapes and “deposit [them] at the Clinton Library.” Id. (quotation marks omitted). The district

   court dismissed the case, concluding that even if it agreed with Judicial Watch’s “questionable

   characterization” of the recordings as presidential records, the court lacked the authority to compel

   NARA to exercise its discretion under the PRA to commence proceedings to recover the records.

   Id. at 302.

           Trump relies on a statement made at a hearing in the case, in which the district court asked

   the government “[w]ho made the classification decision here?” Judicial Watch, Inc. v. NARA, No.

   10-cv-1834, ECF No. 14, at 6 (D.D.C. Mar 5, 2012). The government attorney responded, “I think

   there are two classification decisions, only one of which the plaintiff is challenging. President

   Clinton initially classified the audiotapes as—presumably classified the tapes as personal records

   by not transferring them to the archives at the conclusion of his administration.” Id. (emphasis

   added). The attorney added that if NARA disagreed with that classification, “then [NARA] can

   invoke their enforcement mechanism.” Id. at 6-7.

           Based on the italicized statement, Trump attempts to derive a rule that if a President fails

   to transfer materials to the Archives at the conclusion of his presidency, a court must conclude that

   the President designated the records as personal rather than presidential. ECF No. 327 at 5-6. That

   argument takes the oral-argument statement out of context and gives it a meaning it cannot bear.

   The tapes in question purported to be “the functional equivalent of a diary,” 44 U.S.C.

   § 2201(3)(A), which the PRA explicitly regards as personal (provided the other conditions of the



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   statute are met).    In that context, the government’s statement that President Clinton had

   “presumably” classified them as personal was unsurprising. At most, the comment reflected a

   factual presumption by the attorney handling the hearing; it did not reflect, much less create, any

   binding position of the DOJ or legal presumption under the PRA. In any event, that comment has

   no application to the very different context here. The documents that Trump removed were

   government-created classified records; Trump does not contend that they constitute the functional

   equivalent of a diary; and they cannot qualify as “personal records” under any objective view.

          B.      Any Implied Designation of Records as “Personal” by a President Who Takes
                  Them upon Leaving Office Is Not Immune from Judicial Review

          Trump asserts that the PRA “‘precludes judicial review of the President’s recordkeeping

   practices and decisions,’ including [his] decision to designate materials as Personal Records.” ECF

   No. 327 at 6 (quoting Armstrong I, 924 F.2d at 291). Neither Armstrong I nor any other decision

   supports that categorical statement and, if it were accepted, it would render the PRA a nullity—

   allowing a departing President by fiat to treat all Presidential records as personal records, thus

   effectively reviving the very regime that the PRA was enacted to displace.

          Armstrong I involved a private action to prevent the President from erasing electronically

   stored information at the end of a Presidency. The court of appeals held only that “it is difficult to

   conclude that Congress intended to allow courts, at the behest of private citizens, to rule on the

   adequacy of the President’s records management practices or overrule his records creation,

   management, and disposal decisions.” Armstrong I, 924 F.2d at 290 (emphasis added); see id. at

   291. The court did not categorically rule out judicial review. And two years later, in a subsequent

   stage of the same case, the court of appeals explained that even in private actions, judicial review

   remained available to ensure that the PRA would not become “a potential presidential carte

   blanche to shield materials from the reach of the FOIA” by improperly designating records as

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   presidential records rather than agency records. Armstrong v. Exec. Off. of the President, Off. of

   Admin., 1 F.3d 1274, 1292 (D.C. Cir. 1993) (“Armstrong II”). Armstrong I, the court explained,

   was limited to precluding judicial review “of the President’s decisions concerning the creation,

   management, and disposal of presidential records during his term in office.” Id. at 1294 (emphasis

   added). The court allowed review of “guidelines outlining what is, and what is not, a ‘presidential

   record’ to ensure that materials that are not subject to the PRA are not treated as presidential

   records.” Id.

          Neither Armstrong I nor Armstrong II addressed judicial review of presidential decisions

   to designate particular records as “personal” or “presidential” records, and neither addressed a

   former President’s actions. But the logic of Armstrong II that a President should not have carte

   blanche to improperly designate records and thus defeat Congress’s purposes equally applies here.

   If Trump had carte blanche to call patently presidential records “personal records,” a President

   could defeat the purpose of the PRA to ensure that presidential records remained public property,

   and not, as in pre-PRA practice, the personal property of individual Presidents.

          The one court that considered whether a former President could have plenary control of

   decisions about presidential records rejected that proposition as wholly inconsistent with the

   structure and purpose of the PRA. In American Historical Association v. Peterson, 876 F. Supp.

   1300 (D.D.C. 1995), President George H.W. Bush made an agreement with the Archivist that

   purported to give the outgoing President exclusive control over electronic records from his time in

   office. Id. at 1303. The district court held the agreement invalid. Id. at 1318-20. It noted that the

   PRA was designed to overcome pre-PRA practice under which “‘Presidents exercised complete

   dominion and control over their presidential papers.’” Id. at 1306 (quoting Nixon v. United States,

   978 F.2d 1269, 1277 (D.C. Cir. 1992)). The court rejected the submission—resembling Trump’s



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   position here—that all “discretionary Presidential decisions alleged to be in excess of statutory

   authority are nonreviewable.” Id. at 1313 (quotation marks omitted). Rather, the court noted that

   Armstrong II permits review of “guidelines for categorizing Presidential records” and that it did

   “not necessarily foreclose judicial review of a decision to denominate certain materials ‘personal

   records’ of a former President.” Id. at 1314. “Such judicial review may be available to ensure that

   Presidential records are not disposed of as personal records at the end of an Administration and

   that, instead, all Presidential records fall subject to the Archivist’s ‘affirmative duty to make such

   records available to the public.’” Id. (quoting 44 U.S.C. § 2203(g)(1) (emphasis omitted)).

          If judicial review were not available, the court explained, a President could make an

   “eleventh hour agreement” that would allow him as a private citizen to control the disposition of

   “Presidential records following a term in office.” Id. at 1315. “The PRA, however, was passed

   precisely in order to preclude former Presidents from disposing of Presidential records as they

   please.” Id. Indeed, the court noted, it “borders on the absurd” to think that Congress enacted the

   PRA to prevent the disposal of presidential records at will, but simultaneously intended a former

   President’s decisions to dispose of such records to “be immune from judicial review.” Id.; accord

   Citizens for Resp. & Ethics (“CREW”) v. Cheney, 593 F. Supp. 2d 194, 216 (D.D.C. 2009). The

   same principle applies here to prohibit Trump from disposing of presidential records as he pleases

   on his way out of the White House: it would be “absurd” to find that the PRA permits that result.

          None of the other authorities that Trump cites supports his absolute preclusion-of-review

   theory. He acknowledges (ECF No. 327 at 9) that Judicial Watch did not reach that question. See

   845 F. Supp. 2d at 298 (expressing doubts about whether former President Clinton’s “retention of

   the audiotapes as personal is a matter that is subject to judicial review[,] [b]ut the Court need not

   decide this question”). And he cites cases that restrict private actions seeking judicial oversight of



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   ongoing White House records management practices, CREW v. Trump, 438 F. Supp. 3d 54, 61

   (D.D.C. 2020); see also CREW v. Trump, 924 F.3d 602, 609 (D.C. Cir. 2019), but those decisions

   are inapposite here, where no private party is seeking to control ongoing White House practices.

   For similar reasons, Trump’s reliance on DOJ submissions addressing claims for judicial review

   of “day-to-day White House records management decisions under the [PRA]” have no relevance

   here. ECF No. 327 at 7 (quotation marks omitted). Judicial review of the records’ status here,

   based on Trump’s eleventh-hour actions at the end of his presidency, affects no ongoing activities

   in the White House.

          Finally, Trump’s position that any presidential designation of records as “personal” is

   categorically off limits for judicial review cannot be reconciled with the statutory scheme—which

   he embraces—allowing NARA to request the Attorney General to initiate an action to recover

   presidential records. As Judicial Watch explained, the PRA permits NARA “to invoke the same

   enforcement mechanism embodied in the Federal Records Act, which begins with a request to the

   Attorney General to institute an action for the recovery of missing records.” 845 F. Supp. 2d at

   302 (citing 44 U.S.C. §§ 2112(c), 3106). The Government has previously brought a replevin action

   to recover missing presidential records. Id. (citing United States v. McElvenny, No. 02-3027, 2003

   WL 1741422 (S.D.N.Y. Apr. 1, 2003) (seeking to recover a map that President Kennedy annotated

   during the Cuban Missile Crisis)). That authority necessarily allows a court to decide that missing

   presidential records belong to the United States.

           On Trump’s contrary reading, a departing President could unilaterally convert classified

   government records—containing the Nation’s most closely guarded military, diplomatic, and

   national security secrets—into his private possessions, leaving the government with no judicial

   recourse to recover its own property and protect the Nation from the risk that the former President



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   may disclose these secrets to a foreign adversary, post them on the internet, or sell them to the

   highest bidder. Even Trump shrinks from that conclusion; instead, he argues (inconsistently and

   incorrectly) that the PRA’s civil recovery mechanism is the exclusive means to address a former

   President’s unauthorized possession of presidential records. ECF No. 327 at 10-13 (citing Judicial

   Watch, 845 F. Supp. 2d at 302). The claim that NARA’s civil remedies are exclusive of criminal

   enforcement is wrong, see Section III, infra, but here, the relevant point is that the concession that

   the government may sue to recover Presidential records fatally undermines Trump’s claim that his

   misappropriation of government records is judicially unreviewable.

          Accordingly, even if the Section 793(e) charges depended on whether the underlying

   documents were personal or Presidential—which they do not, see Section I, supra—the PRA does

   not require that obviously presidential records be treated as personal ones in this case, simply

   because Trump removed them from the White House at the end of his term in office. That result

   “borders on the absurd.” Am. Hist. Ass’n, 876 F. Supp. at 1315.

   III.   The Investigation into Trump’s Unauthorized Retention of Classified Records Was
          Valid and Trump’s Contrary View Provides No Defense to Charges that He
          Obstructed the Investigation

          Finally, Trump contends that NARA made an improper referral to DOJ on February 9,

   2022, and that the FBI therefore had no basis to “predicate” an investigation of his unauthorized

   possession of classified government documents. ECF No. 327 at 10-13. He claims that, as a result,

   the obstruction and false-statement allegations in Counts 33-42 must be dismissed. Id. at 11. Each

   aspect of that argument is fundamentally wrong. Nothing in the PRA preempts the application of

   federal criminal law or divests the Government of criminal investigative authorities, and in any

   event, an individual’s claim that the Government lacked authority to investigate provides no

   defense to charges for obstructing its investigation.



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          A.      NARA’s Remedies Do Not Preempt Criminal Statutes or Investigative
                  Authorities

          Trump contends that “[t]o the extent NARA seeks to recover properly designated

   Presidential Records from any third party, including a former president, the PRA provides the

   exclusive means for doing so, which is civil rather than criminal in nature.” ECF No. 327 at 11.

   That claim is wrong. As Trump notes, the PRA provides the government with civil tools to recover

   Presidential records that are improperly in private hands. ECF No. 327 at 12. But nothing in that

   civil remedy precludes the application of criminal laws that govern overlapping conduct, such as

   Section 793. See United States v. Arif, 897 F.3d 1, 7-9 (1st Cir. 2018) (rejecting similar argument

   in the context of FTC regulation and the wire-fraud statute). NARA’s civil remedy assists in

   recovering presidential records. Section 793(e), in contrast, addresses criminal threats to national

   security posed by the misuse by anyone of national defense information. The two statutory

   schemes serve different purposes, contain different enforcement mechanisms, and turn on different

   elements of proof. And Congress’s expectation that NARA could refer criminal matters to DOJ in

   appropriate cases is reinforced by the statutory requirement that “each Inspector General shall

   report expeditiously to the Attorney General whenever the Inspector General has reasonable

   grounds to believe there has been a violation of Federal criminal law.” 5 U.S.C. § 404(d). NARA

   has an Inspector General, see id. § 415(a) & (b), and NARA, through its Inspector General, made

   a referral to DOJ in this case, ECF No. 85 ¶ 50.

          Because the PRA and the criminal authorities at issue in this case do not conflict, the PRA

   does not impliedly repeal the Government’s criminal authorities. See Carcieri v. Salazar, 555 U.S.

   379, 395 (2009) (“[A]bsent a clearly expressed congressional intention, [a]n implied repeal will

   only be found where provisions in two statutes are in irreconcilable conflict, or where the latter

   Act covers the whole subject of the earlier one and is clearly intended as a substitute.”) (quotation

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   marks and ellipses omitted); Ray v. Spirit Airlines, Inc., 767 F.3d 1220, 1225 (11th Cir. 2014)

   (“[W]hen Congress passes two statutes that may touch on the same subject, we give effect to both

   unless doing so would be impossible.”). The Government had a legitimate basis for its criminal

   investigation into Trump’s potential violations of law, fully justifying the use of grand jury

   subpoenas and a court-ordered search warrant. ECF No. 85 ¶¶ 49-53, 88-90; see also Gov’t Ex. 1

   to Mot. to Suppress Response, Search Warrant Affidavit ¶ 79 (attesting to probable cause to believe

   that “evidence, contraband, fruits of crime or other items illegally possessed in violation of 18

   U.S.C. §§ 793(e), 2071, or 1519 will be found at [Mar-a-Lago]”).

          Trump cites no authority holding that an exclusive scheme of civil remedies restricts the

   authority of the United States to bring criminal prosecutions under general provisions of the federal

   criminal code. He notes that the Supreme Court stated in Kissinger v. Reporters Committee for

   Freedom of the Press, 445 U.S. 136, 148-49 (1980), that “[t]he Federal Records Act establishes

   one remedy for the improper removal of a record from the agency”—“a system of administrative

   standards and enforcement.” ECF No. 327 at 12. But the context of that statement was whether

   “a private right of action can be implied” in the Federal Records Act. 445 U.S. at 148. The Court

   answered that question “no.” Id. at 148-50. Nothing in Kissinger required the Court to address

   whether the Government can investigate the potential commission of federal crimes when a federal

   record is unlawfully in the hands of a non-federal party. Nor is Trump assisted by DOJ’s brief in

   Judicial Watch stating that “[t]his administrative enforcement scheme is exclusive” and “courts

   may not order the recovery or retrieval of records that may have been removed or destroyed.” ECF

   No. 327 at 13 (quoting Def. Ex. 2 at 4). Judicial Watch did not involve the use of criminal process

   to investigate possible criminal offenses; the case involved only NARA’s remedies, and that was

   the topic DOJ’s brief discussed. See Def. Ex. 2 at 13 (“This administrative enforcement scheme



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   is the exclusive method by which NARA can recover records under the PRA.”). DOJ’s similar

   statement at oral argument in Judicial Watch, see ECF No. 327 at 13, nowhere disavows separate

   criminal investigative powers, which were not at issue in that case. Likewise, the statement in

   Judicial Watch that NARA did not regard itself as empowered to seize records from a former

   President, 845 F. Supp. 2d at 302-03, says nothing about whether a grand jury can subpoena

   records and whether the FBI can execute a search warrant in a criminal investigation relating to

   presidential records.

          B.      Trump Had No Right to Lie and Obstruct the FBI’s Investigation

          If Trump believed he had a valid legal basis for challenging the Government’s

   investigation, he could have moved to quash the grand jury subpoena, and he can move to suppress

   the fruits of the search warrant (as he has). But his PRA-based claims gave him no license to

   obstruct the Government’s investigation through lies and concealment.

          The Supreme Court long ago rejected the contention that a legal objection to the validity

   of a proceeding would preclude prosecution under 18 U.S.C. § 1001 for making a false statement

   in that proceeding. In Bryson v. United States, 396 U.S. 64 (1969), the defendant was convicted

   of making a false statement in violation of Section 1001 in an affidavit denying affiliation with the

   Communist Party, which he had filed with the National Labor Relations Board under Section 9(h)

   of the National Labor Relations Act. Id. at 65-66. He later contended that Section 9(h) was

   constitutionally invalid and that he could not be convicted under Section 1001 for making false

   statements in response to questions “that the Government had no right to ask.” Id. at 66. The

   Court held that the constitutionality of Section 9(h) was “legally irrelevant to the validity of

   petitioner’s conviction under § 1001.” Id. at 68. It relied on Dennis v. United States, 384 U.S. 855

   (1966), which held that “‘[t]he governing principle is that a claim of unconstitutionality will not



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   be heard to excuse a voluntary, deliberate and calculated course of fraud and deceit.’” Bryson, 396

   U.S. at 68 (quoting Dennis, 384 U.S. at 867). The Dennis Court explained that “[o]ne who elects

   such a course as a means of self-help may not escape the consequences by urging that his conduct

   be excused because the statute which he sought to evade is unconstitutional.” 384 U.S. at 867.

          Bryson confirmed that legal objections to the government’s right to ask questions do not

   justify lying in response. 396 U.S. at 70. The Court recognized that Section 1001 requires that

   “the false statement be made ‘in any matter within the jurisdiction of any department or agency of

   the United States,’” but it ruled that a constitutional challenge to the agency’s power to ask

   questions is no defense. Id. at 70-71. “Our legal system provides methods for challenging the

   Government’s right to ask questions,” the Court explained; “lying is not one of them.” Id. at 72.

   Accordingly, “one who furnishes false information to the Government in feigned compliance with

   a statutory requirement cannot defend against prosecution for his fraud by challenging the validity

   of the requirement itself.” United States v. Knox, 396 U.S. 77, 79 (1969); see also United States

   v. Holden, 70 F.4th 1015, 1017 (7th Cir. 2023) (“Many decisions of the Supreme Court hold that

   false statements may be punished even when the government is not entitled to demand answers.”).

          As in Bryson, Dennis, and Knox, Trump’s claim that the government’s investigation was

   impermissible does not allow him to obtain dismissal of charges of conspiring to obstruct and

   obstructing a federal grand jury (Counts 33-35, 37-38, 40) and an FBI investigation (Count 36, 37-

   38) (see ECF No. 85 ¶¶ 95-96, 99, 101, 103, 105, 107, 114). The FBI had legal authority to

   investigate any possible violations of federal criminal law arising from Trump’s conduct, as

   detailed in the Superseding Indictment. See 28 U.S.C. §§ 509-510, 531; 28 C.F.R. § 0.85(a). So

   too did the grand jury. United States v. R. Enters., 498 U.S. 292, 297 (1991) (“[T]he grand jury

   can investigate merely on suspicion that the law is being violated, or even just because it wants



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   assurance that it is not.”) (quotation marks omitted). Trump does not get a free pass for his alleged

   obstruction offenses based on his legal claim that those entities lacked authority to investigate.

          Trump relies on a series of inapposite cases in arguing that any flaws in the FBI’s basis for

   investigating allowed him to lie to the government, conceal records, and obstruct the grand jury’s

   investigation. ECF No. 327 at 11. Those cases address requirements to prove violations of the

   charged offenses: United States v. Beach, 80 F.4th 1245, 1256-57 (11th Cir. 2023), addresses the

   requirement to prove a nexus to an official investigation under 18 U.S.C. § 1512(a)(2)(A); United

   States v. Hunt, 526 F.3d 739, 743 (11th Cir. 2008), holds that the fair-warning requirement of due

   process is satisfied when a person knowingly makes a false entry in a document with intent to

   impede or influence an FBI investigation under 18 U.S.C. § 1219; and United States v.

   Blankenship, 382 F.3d 1110, 1136-40 (11th Cir. 2004)), addresses the requirement to prove that a

   false statement or concealment took place in a matter within federal “jurisdiction” under 18 U.S.C.

   § 1001. The Government must prove those elements at trial; they impose no restriction on the

   Government’s authority to investigate. Accordingly, Trump’s PRA-exclusivity argument, even if

   it had merit (which it does not), cannot support his argument to dismiss the allegations of crimes

   that he committed to obstruct the Government’s investigation.

                                            CONCLUSION

          The motion to dismiss the Superseding Indictment based on the PRA should be denied.

                                                 Respectfully submitted,

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   March 7, 2024




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 7, 2024, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

   Notices of Electronic Filing.

                                               /s/ Jay I. Bratt
                                               Jay I. Bratt




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